Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 1 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010
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                                                                                1 Appeals
                                                          United  States Court
                                                                   Tenth Circuit

                                       PUBLISH                     October 19, 2010
                                                                  Elisabeth A. Shumaker
                      UNITED STATES COURT OF APPEALS                  Clerk of Court

                                  TENTH CIRCUIT


   SOLOMON BEN-TOV COHEN,

                Plaintiff-Appellant,

   v.                                                    No. 09-1563

   JOHN P. LONGSHORE; UNKNOWN
   MAIL CLERK, El Paso County
   Sheriff’s Office,

                Defendants-Appellees.


            APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO
                      (D.C. No. 1:09-CV-01169-ZLW)


  Submitted on the briefs: *

  Solomon Ben-Tov Cohen, pro se.


  Before KELLY, McKAY, and LUCERO, Circuit Judges.


  McKAY, Circuit Judge.


        *
         After examining Plaintiff’s brief and the appellate record, this panel has
  determined unanimously that oral argument would not materially assist in the
  determination of this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G).
  This case is therefore ordered submitted without oral argument.
        Because the action was dismissed before service of process on the
  defendants, the defendants do not appear in this court on appeal.
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 2 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 2




        Plaintiff Solomon Cohen, proceeding pro se, appeals from the district

  court’s sua sponte dismissal of his civil rights complaint and denial of his motion

  to file an amended complaint late. Plaintiff, who was an immigration detainee at

  the time the underlying proceedings took place, sought in his amended complaint

  to raise claims of false imprisonment and denial of access to the courts. The

  district court denied Plaintiff’s motion to amend on three grounds: (1)

  untimeliness, (2) his attachment of different exhibits to the three copies of his

  amended complaint, and (3) the futility of amendment. The court then dismissed

  both the original and amended complaints. On appeal, Plaintiff contends that he

  should have been permitted to file his amended complaint and that the claims in

  the amended complaint were sufficiently meritorious that they should have been

  allowed to proceed.

        We review for abuse of discretion the district court’s denial of Plaintiff’s

  motion to file an amended complaint. See United States ex rel. Ritchie v.

  Lockheed Martin Corp., 558 F.3d 1161, 1166 (10th Cir. 2009). Rule 15(a)(2) of

  the Federal Rules of Civil Procedure provides that leave to amend should be

  freely given “when justice so requires,” and thus “district courts may withhold

  leave to amend only for reasons such as ‘undue delay, bad faith, or dilatory

  motive on the part of the movant, repeated failure to cure deficiencies by

  amendments previously allowed, undue prejudice to the opposing party by virtue


                                            -2-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 3 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 3



  of allowance of the amendment, or futility of the amendment.’” Id. (quoting

  Foman v. Davis, 371 U.S. 178, 182 (1962) (brackets omitted)).

        Plaintiff filed his initial complaint on May 22, 2009, and his first amended

  complaint on June 23, 2009. On June 25, the magistrate judge issued an order

  directing Plaintiff to file a second amended complaint. Plaintiff sought an

  extension of time to file his complaint on July 31, September 2, and October 28.

  Each motion for an extension of time was granted, but the magistrate judge

  warned him on the last occasion that no further extensions would be granted and

  that he had only until November 30 to file his second amended complaint as

  directed. In his September and October motions for an extension of time,

  Plaintiff explained why he was requesting an extension, with his reasons

  including medical issues, his transfer to another facility, and the limitations of the

  detention center’s law library. When he finally filed his second amended

  complaint, along with a motion for late filing, on December 10, 2009, he

  explained that his cancer symptoms had recurred and that he had been feeling

  very weak during the past six weeks, which had prevented him from complying

  with the deadline for filing his amended complaint.

        As the Supreme Court stated in Foman, “undue delay” may be an

  appropriate justification for denying a motion to amend. 371 U.S. at 182. In

  deciding whether a delay is “undue,” we “focus[] primarily on the reasons for the

  delay.” Minter v. Prime Equip. Co., 451 F.3d 1196, 1206 (10th Cir. 2006). “We

                                            -3-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 4 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 4



  have held that denial of leave to amend is appropriate ‘when the party filing the

  motion has no adequate explanation for the delay.’” Id. (quoting Frank v. U.S.

  West, Inc., 3 F.3d 1357, 1365-66 (10th Cir. 1993)). For instance, in Woolsey v.

  Marion Labs., Inc., 934 F.2d 1452 (10th Cir. 1991), we affirmed the district

  court’s denial of a motion to amend that was filed nearly seventeen months after

  the filing of the original complaint with no explanation for the delay. Id. at 1462.

  In Smith v. Aztec Well Servicing Co., 462 F.3d 1274 (10th Cir. 2006), we affirmed

  the district court’s denial of leave to amend where “[t]he plaintiffs offer[ed] no

  explanation for their 14-month delay other than the dubious assertion that until

  the district court’s ruling at the pre-trial conference, they had no idea an

  amendment was necessary.” Id. at 1285 (internal quotation marks and brackets

  omitted). By contrast, we concluded in Minter that the district court erred in

  striking as untimely an amended claim when the plaintiff gave “an excusable

  cause for the delay” in bringing this claim. 451 F.3d at 1207.

        In this case, Plaintiff asserted that he filed his amended complaint late—ten

  days following the deadline given by the magistrate judge—because of a serious

  medical condition. Plaintiff had also provided reasons for his previous extensions

  of time, many of which were likewise outside of his control. The district court

  gave no consideration to these reasons, but simply held that the motion for late

  filing should be denied because Plaintiff had failed to file it in a timely fashion.

  We conclude that the district court abused its discretion when it denied the motion

                                            -4-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 5 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 5



  to file an amended complaint without any consideration of whether Plaintiff had

  given an excusable cause for his delay in amending the complaint as directed. In

  so holding, we express no opinion as to whether Plaintiff’s explanations did in

  fact provide sufficient cause for his delay in complying with the order to file an

  amended complaint. We simply hold that the district court erred when it failed to

  give any consideration to the adequacy of the reasons Plaintiff provided for the

  delay.

           The district court’s second reason for its decision was Plaintiff’s

  attachment of different exhibits to each copy of the second amended complaint.

  The court thus reasoned that Plaintiff had “failed to file a second amended

  complaint as directed.” (R. at 163.) However, although dismissal may be “an

  appropriate disposition against a party who disregards court orders and fails to

  proceed as required by court rules,” United States ex rel. Jimenez v. Health Net,

  Inc., 400 F.3d 853, 855 (10th Cir. 2005), we are not persuaded that a pro se

  plaintiff’s apparently inadvertent failure to attach identical exhibits to each copy

  of his amended complaint is a sufficiently grievous departure from the court’s

  rules to warrant denying his motion to amend and dismissing his complaint.

           Moreover, we note that the district court did not indicate in its order

  whether it was dismissing Plaintiff’s complaint with or without prejudice, and

  thus the court’s dismissal must be treated as a dismissal with prejudice. See

  Nasious v. Two Unknown BICE Agents, 492 F.3d 1158, 1162 (10th Cir. 2007).

                                              -5-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 6 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 6



  Although a district court has the discretion to dismiss a case with prejudice for

  the failure to comply with the rules of civil procedure or the court’s orders, the

  court does not exercise its discretion soundly unless it first considers certain

  criteria—specifically, “‘(1) the degree of actual prejudice to the defendant; (2) the

  amount of interference with the judicial process; (3) the culpability of the litigant;

  (4) whether the court warned the party in advance that dismissal of the action

  would be a likely sanction for noncompliance; and (5) the efficacy of lesser

  sanctions.’” Id. (quoting Olsen v. Mapes, 333 F.3d 1199, 1204 (10th Cir. 2003)).

  In this case, there is no indication that the district court considered any of these

  factors before dismissing both the original and the amended complaint.

  Furthermore, as in Nasious, these factors do not all weigh in favor of dismissal,

  and we see no basis for affirming the court’s decision based on our own

  independent assessment of these criteria on appeal. See id. at 1162-63.

        Finally, the district court concluded that Plaintiff’s motion to file a late

  amended complaint should be denied because the claims he sought to add lacked

  merit. Although we generally review for abuse of discretion a district court’s

  denial of leave to amend a complaint, when this “denial is based on a

  determination that amendment would be futile, our review for abuse of discretion

  includes de novo review of the legal basis for the finding of futility.” Miller ex

  rel. S.M. v. Bd. of Educ. of Albuquerque Pub. Schs., 565 F.3d 1232, 1250 (10th

  Cir. 2009). We thus consider de novo whether “it is ‘patently obvious’ that the

                                            -6-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 7 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 7



  plaintiff could not prevail on the facts alleged, and allowing him an opportunity

  to amend his complaint would be futile.” Hall v. Bellmon, 935 F.2d 1106, 1110

  (10th Cir. 1991). We likewise review de novo a district court’s conclusion that a

  complaint should be dismissed because it fails to state a claim upon which relief

  may be granted. See Jojola v. Chavez, 55 F.3d 488, 490 (10th Cir. 1995).

        In his amended complaint, Plaintiff sought to raise two claims: false

  imprisonment and denial of access to the courts. As for the false imprisonment

  claim, the district court concluded that this claim lacked merit because Plaintiff

  had not invalidated his imprisonment and thus could not recover damages under

  Heck v. Humphrey, 512 U.S. 477 (1994), which generally prohibits an individual

  from recovering damages in a civil rights action for an allegedly unlawful

  confinement where there has not been a favorable termination of the criminal

  action on appeal or in a collateral action. Plaintiff argues, however, that Heck

  should not bar this action because Plaintiff has no available habeas remedy.

  Indeed, Plaintiff in fact sought to invalidate his imprisonment through a 28 U.S.C.

  § 2241 petition but was prevented by his transfer out of Immigration and Customs

  Enforcement custody, which mooted his habeas claims. See Cohen Ma v. Hunt,

  372 F. App’x 850 (10th Cir. 2010). Under these circumstances, Plaintiff argues,

  his false imprisonment claim should not be barred by his failure to obtain relief in

  habeas.

        The circuits have split on the question of whether the Heck favorable-

                                           -7-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 8 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 8



  termination requirement applies when the plaintiff lacks an available habeas

  remedy. See Vasquez Arroyo v. Starks, 589 F.3d 1091, 1096 (10th Cir. 2009)

  (discussing the circuit split but resolving the case on other grounds). In Heck, the

  Supreme Court broadly held that, “in order to recover damages for allegedly

  unconstitutional conviction or imprisonment, or for other harm caused by actions

  whose unlawfulness would render a conviction or sentence invalid, a § 1983

  plaintiff must prove that the conviction or sentence has been reversed on direct

  appeal, expunged by executive order, declared invalid by a state tribunal

  authorized to make such a determination, or called into question by a federal

  court’s issuance of a writ of habeas corpus.” 512 U.S. at 486-87. Although the

  petitioner in Heck was still incarcerated when he brought his § 1983 claim, the

  Court stated in a footnote that “the principle barring collateral attacks—a

  longstanding and deeply rooted feature of both the common law and our own

  jurisprudence—is not rendered inapplicable by the fortuity that a convicted

  criminal is no longer incarcerated.” Id. at 490 n.10. Based on this dicta and the

  Court’s broad language in its holding, several circuits have held that the Heck

  favorable-termination requirement prevents § 1983 claims for damages even when

  brought by petitioners whose release from custody has made habeas relief

  unavailable. See, e.g., Entzi v. Redmann, 485 F.3d 998, 1003 (8th Cir. 2007);

  Williams v. Consovoy, 453 F.3d 173, 177-78 (3d Cir. 2006); Randell v. Johnson,

  227 F.3d 300, 301 (5th Cir. 2000); Figueroa v. Rivera, 147 F.3d 77, 81 n.3 (1st

                                           -8-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 9 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 9



  Cir. 1998).

        Other circuits have reached the opposite conclusion, however, based on the

  Supreme Court’s subsequent decision in Spencer v. Kemna, 523 U.S. 1 (1998).

  See, e.g, Wilson v. Johnson, 535 F.3d 262, 266-68 (4th Cir. 2008); Powers v.

  Hamilton Cnty. Pub. Defender Comm’n, 501 F.3d 592, 603 (6th Cir. 2007);

  Harden v. Pataki, 320 F.3d 1289, 1298-99 (11th Cir. 2003); Nonnette v. Small,

  316 F.3d 872, 876-77 (9th Cir. 2002); Huang v. Johnson, 251 F.3d 65, 75 (2d Cir.

  2001); Carr v. O’Leary, 167 F.3d 1124, 1127 (7th Cir. 1999). In Spencer, a

  majority of the Court affirmed the dismissal for mootness of a habeas claim

  brought by a petitioner who was no longer in custody because the petitioner had

  failed to show that he suffered continuing collateral consequences from his parole

  revocation following his release. Id. at 14-16. In a concurrence, four Justices

  articulated an additional reason why this result was correct—“a former prisoner,

  no longer ‘in custody,’ may bring a § 1983 action establishing the

  unconstitutionality of a conviction or confinement without being bound to satisfy

  a favorable-termination requirement that it would be impossible as a matter of law

  for him to satisfy,” and thus “the answer to Spencer’s argument that his habeas

  claim cannot be moot because Heck bars him from relief under § 1983 is that

  Heck has no such effect.” Id. at 21 (Souter, J., concurring). Justice Stevens

  dissented from the majority opinion, concluding that the case should not be moot

  based on the petitioner’s interest in vindicating his reputation. Id. at 22-25

                                            -9-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 10 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 10



   (Stevens, J., dissenting). He agreed with the concurring Justices, however, that a

   petitioner without a remedy under the habeas statute may bring an action under §

   1983. Id. at 25 n.8.

         After discussing the Court’s statements in Heck and Spencer, the Fourth

   Circuit explained that its decision to follow the reasoning of the five-Justice

   plurality in Spencer was informed by equitable concerns and consideration of the

   purpose of § 1983. Wilson, 535 F.3d at 268. The court noted that the purpose of

   § 1983 is to “provid[e] litigants with ‘a uniquely federal remedy against

   incursions . . . upon rights secured by the Constitution and laws of the Nation,’”

   and that “[b]arring [the plaintiff’s] claim would leave him without access to any

   judicial forum in which to seek relief for his alleged wrongful imprisonment.” Id.

   (quoting Wilson v. Garcia, 471 U.S. 261, 272-73 (1985)). The Fourth Circuit then

   explained that it simply “d[id] not believe that a habeas ineligible former prisoner

   seeking redress for denial of his most precious right—freedom—should be left

   without access to a federal court.” Id. Similarly, the Eleventh Circuit reasoned in

   Harden that, “because federal habeas corpus is not available to a person

   extradited in violation of his or her federally protected rights, even where the

   extradition itself was illegal, § 1983 must be” available to redress an

   unconstitutional extradition. Harden, 320 F.3d at 1299.

         The courts that apply the Heck bar to petitioners without a habeas remedy

   have reasoned that Heck must be applied according to the broad language of its

                                            -10-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 11 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 11



   holding unless and until the Supreme Court explicitly holds otherwise. See, e.g.,

   Entzi, 485 F.3d at 1003 (“Absent a decision of the Court that explicitly overrules

   what we understand to be the holding of Heck, however, we decline to depart

   from that rule.”) However, the Supreme Court itself has recognized this issue to

   be an unsettled one. See Muhammad v. Close, 540 U.S. 749, 752 n.2 (2004).

   Under these circumstances, and in light of the fact that Heck involved a petitioner

   who was still incarcerated, we are not persuaded that Heck must be applied to

   petitioners without a habeas remedy. We are instead persuaded by the reasoning

   of the Second, Fourth, Sixth, Seventh, Ninth, and Eleventh Circuits that we are

   free to follow the five-Justice plurality’s approach in Spencer on this unsettled

   question of law. We are also persuaded that the Spencer plurality approach is

   both more just and more in accordance with the purpose of § 1983 than the

   approach of those circuits that strictly apply Heck even to petitioners who have

   been released from custody. If a petitioner is unable to obtain habeas relief—at

   least where this inability is not due to the petitioner’s own lack of diligence—it

   would be unjust to place his claim for relief beyond the scope of § 1983 where

   “exactly the same claim could be redressed if brought by a former prisoner who

   had succeeded in cutting his custody short through habeas.” Spencer, 523 U.S. at

   21 (Souter, J., concurring).

         We thus adopt the reasoning of these circuits and hold that a petitioner who

   has no available remedy in habeas, through no lack of diligence on his part, is not

                                            -11-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 12 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 12



   barred by Heck from pursuing a § 1983 claim. The district court therefore erred

   in holding that Plaintiff’s false imprisonment claim lacked merit where Plaintiff’s

   prior attempt to obtain a favorable termination in habeas was dismissed based on

   mootness.

         As for the second claim in Plaintiff’s amended complaint, this claim was

   based on the alleged refusal by a mail clerk to send Plaintiff’s legal mail.

   Plaintiff alleges that, as a result of this refusal, he was unable to file objections to

   the magistrate judge’s recommendations in another civil rights case, with the

   result that the magistrate judge’s recommendations were adopted by the district

   court without de novo review and Plaintiff lost his right to appeal the court’s

   decision.

         The district court concluded that “[t]he access to the courts claim lacks

   merit because Mr. Cohen fails to allege any actual injury in connection with the

   preparation of an initial pleading raising a nonfrivolous legal claim in a civil

   rights action regarding his current confinement or in an application for a writ of

   habeas corpus.” (R. at 164.) For support, the district court cited to Lewis v.

   Casey, 518 U.S. 343, 349-55 (1996). In Lewis, the Supreme Court held that a

   prison legal library need only provide those resources “that the inmates need in

   order to attack their sentences, directly or collaterally, and in order to challenge

   the conditions of their confinement.” Id. at 355. The Court also concluded that

   the denial-of-access-to-the-courts claims brought by illiterate or non-English-

                                             -12-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 13 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 13



   speaking inmates turned on whether prison officials were ensuring that these

   inmates had “a reasonably adequate opportunity to file nonfrivolous legal claims

   challenging their convictions or conditions of confinement.” Id. at 356. Thus, in

   the instant case, the district court apparently concluded that any claim of denial of

   access to the courts must be premised on either a habeas petition or on a civil

   rights action relating to the conditions of confinement.

         This reading of Lewis, however, is contrary to our precedent. As we stated

   in Simkins v. Bruce, 406 F.3d 1239 (10th Cir. 2005), “[i]n order to provide

   inmates a meaningful right of access to the courts, ‘states are required to provide

   affirmative assistance in the preparation of legal papers in cases involving

   constitutional rights and other civil rights actions related to their incarceration,

   but in all other types of civil actions, states may not erect barriers that impede the

   right of access of incarcerated persons.’” Id. at 1242 (quoting Snyder v. Nolen,

   380 F.3d 279, 290-91 (7th Cir. 2004)). Thus, although Lewis limits the types of

   cases in which the prison must provide affirmative assistance, it does not give

   free reign to prison authorities to interfere with and impede a prisoner’s pursuit of

   other legal actions.

         Here, Plaintiff alleges that a mail clerk impeded his right of access to the

   courts by refusing to send his legal mail, which prevented him from being able to

   file objections to the magistrate judge’s recommendations in another civil action.

   As reflected in one of the attachments to Plaintiff’s amended complaint, the

                                             -13-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 14 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 14



   district court in that action subsequently dismissed several defendants from the

   case based on the magistrate judge’s recommendation, noting that “Plaintiff has

   failed to file specific written objections to the Magistrate Judge’s

   recommendation and is therefore barred from de novo review.” (R. at 118.)

   Moreover, as Plaintiff points out, we “have adopted a ‘firm waiver rule’ that

   ‘provides that the failure to make timely objections to the magistrate’s findings or

   recommendations waives appellate review of both factual and legal questions.’”

   United States v. 2121 E. 30th St., 73 F.3d 1057, 1059 (10th Cir. 1996) (quoting

   Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991)). As in Simkins, the

   alleged prejudice from the mail clerk’s interference “is directly and inextricably

   tied to the adverse disposition of his underlying case and the loss of his right to

   appeal from that disposition.” 406 F.3d at 1244. Moreover, although Plaintiff’s

   claims in the underlying case might well be frivolous, the record contains

   insufficient evidence for us to affirm on that basis in this appeal. See id. We thus

   conclude that the district court erred in denying the motion to file an amended

   complaint and dismissing this claim based on its conclusion that this claim lacked

   merit.

            For the foregoing reasons, we REVERSE and REMAND the district

   court’s order. In so holding, we express no opinion as to the merit or ultimate

   disposition of Plaintiff’s claims. We simply hold, in light of the record on appeal,

   that the district court erred in denying Plaintiff’s motion to file an amended

                                            -14-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 15 of 16

   Appellate Case: 09-1563 Document: 01018517479 Date Filed: 10/19/2010 Page: 15



   complaint late and dismissing his original and amended complaints for the

   reasons given. We GRANT Plaintiff’s motion to proceed in forma pauperis on

   appeal but DENY Plaintiff’s request that we order the district court to appoint

   counsel to represent Plaintiff on remand.




                                          -15-
Case 1:09-cv-01169-LTB-CBS Document 35 Filed 10/19/10 USDC Colorado Page 16 of 16

    Appellate Case: 09-1563 Document: 01018517481 Date Filed: 10/19/2010 Page: 1

                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                     Douglas E. Cressler
   Clerk of Court                       October 19, 2010                     Chief Deputy Clerk




   Mr. Solomon Ben-Tov Cohen
   FCI - Englewood
   9595 West Quincy Avenue
   Littleton, CO 80123
   #36792-013
   RE:       09-1563, Cohen v. Longshore, et al
             Dist/Ag docket: 1:09-CV-01169-ZLW

   Dear Mr. Cohen:

   Enclosed is a copy of the opinion of the court in the captioned case. Judgment was
   entered today.

   Please contact this office if you have questions.

                                                Sincerely,



                                                Elisabeth A. Shumaker
                                                Clerk of the Court




   EAS/lg
